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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
UNITED STATES OF AMERICA, et al.,         )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3010 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )
_________________________________________
                                          )
STATE OF COLORADO, et al.,                )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3715 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )

                                             ORDER

       Based on the parties’ Joint Discovery Plan, ECF No. 1046, the court orders the following

with regard to discovery in this matter:

       Except as provided below, the applicable limitations and procedures set forth in the
       Amended Scheduling and Case Management Order, ECF No. 108-1, remain in effect.

       I.      Interrogatories

               A.      Each side is limited to 20 interrogatories, including subparts. No party shall
                       serve any contention interrogatories.

       II.     Requests for Admission

               A.      Each side is limited to five requests for admission.
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III.   Depositions

       A.     Each side is limited to 25 fact witnesses. Plaintiffs are limited to 15 fact
              witnesses of current Google employees.

       B.     Plaintiffs are limited to two Rule 30(b)(6) depositions.

       C.     Depositions of party fact witnesses are limited to no more than a seven-
              hour day.

       D.     During non-party depositions noticed by only one side, the non-noticing
              side may cross-examine the witness for up to one hour at the conclusion of
              direct examination, and the side that conducted the direct examination shall
              be entitled to redirect examination of the witness for approximately the
              same amount of record time as the cross-examination regardless of whether
              the redirect examination extends past the seven-hour limit, but in no event
              shall the total on-record portion of the deposition extend past eight hours.
              Even if the total, on-record portion of the deposition goes beyond seven
              hours, the deposition shall conclude on the same day and shall not extend
              to a second day, unless the parties agree to have a portion of the deposition
              take place on a second day. If a non-party deposition is noticed by both
              sides, then the deposition will be seven hours and will be divided equally
              between the sides, and the deposition of the non-party will count as one
              deposition for each side. Any time allotted to one side not used by that side
              in a non-party deposition may be used by the other side. During these
              remedy proceedings, no person shall object to a deposition on the basis that
              they were deposed during the liability proceeding in this matter.

IV.    Expert Depositions

       A.     Any expert may be deposed, after all expert reports and accompanying
              materials have been disclosed, for no more than seven hours.

V.     Witness Lists

       A.     In accordance with the Order of September 18, 2024, ECF No. 1043, each
              side shall provide:

              1.       an initial witness list, which shall be limited to 25 persons, not
                       including experts; and

              2.       a final witness list, which shall be limited to 12 persons, not
                       including experts.

       B.     The parties may designate testimony from depositions of persons not on
              the final witness list.



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      VI.    Document Requests

             A.      The parties shall serve any objections to requests for production of
                     documents within 14 days.

             B.      Within three days of service of any objections, the parties shall meet and
                     confer to attempt to resolve any objections and agree on custodians to be
                     searched.

             C.      The number of custodians is limited to 15 per request for production. The
                     custodians need not be the same for each request.

             D.      There is no limitation on the number of search strings.

      VII.   Service of Pleadings & Discovery on Other Parties

             A.      The parties shall exchange a list of contacts for the persons to be served if
                     service is not completed via CM/ECF.

      The parties may not modify by stipulation any of the limitations set forth above. Instead,
      the parties must file a written motion requesting a modification. The motion must state
      the basis for the modification and the opposing party’s position on the motion, including
      any reasons given for refusing to consent. See LCvR 7. Motions to modify discovery
      limitations will be granted only upon good cause shown.




Dated: September 25, 2024                                 Amit P. Mehta
                                                    United States District Judge




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